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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                        Plaintiff,


                        vs.                               Case No. 07-10142-05-JTM


 JASON TISDALE,
   a/k/a “Change,”
                        Defendant.




                                MEMORANDUM AND ORDER

       Presently before the court is defendant Jason Tisdale’s Motion to Reveal any ‘Deals’

made by the Government (Dkt. No. 187). The court held a hearing on the matter on February 29,

2008, and ordered further briefing by the parties (Dkt. No. 303). The government filed a brief

(Dkt. No. 333), but the defendant did not. After carefully considering all of the briefing on this

issue, the court adopts the following procedure.

       The court will review any plea agreement in an in camera hearing to determine the issue

of defendant or witness safety, in which the government will have the burden to establish a threat

to safety, through evidence more than general statements. If the court agrees with the

government’s assessment of witness safety, it will not reveal the plea agreement to the

defendants. If, however, the court does not agree with the government’s assessment, it will order

the release of as much of the agreement that is consistent with witness safety. The court’s review

will balance the safety of witnesses verses the defendants’ need to know the information.
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       This approach is consistent with what other courts in this district have done. In United

States v. Wright, No. 00-40024-01, 2001 WL 1456856 (D. Kan. Oct. 10, 2001), the court noted

that it conducted an in camera review of certain material, and found that the government

demonstrated sound and substantial justification for its concern over witness safety. As such, the

court found that the government made a sufficient showing for not immediately disclosing the

discovery that was requested in the case. The court noted that it must balance the concern

regarding the volume of the detailed material and the likelihood of it generating additional

investigation, against the risk to witnesses, the burden of increasing security for those witnesses,

and the expected effectiveness of this increased security. After balancing those factors, the court

ordered that the material be produced thirty days before trial.

       Accordingly, Tisdale’s motion is granted to the extent that the procedure outlined above

is hereby adopted by this court.

       IT IS ACCORDINGLY ORDERED this 2nd day of June, 2008.


                                                      s/ J. Thomas Marten
                                                      J. THOMAS MARTEN, JUDGE




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